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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Judge Robert E. Blackburn

  Civil Case No. 04-cv-01139-REB-BNB

  RESOURCE SUPPORT ASSOCIATES, INC.,

         Plaintiff,
  v.

  THE UNITED STATES OF AMERICA,

         Defendant.


                                  ORDER OF DISMISSAL

  Blackburn, J.

         The matter before the court is the Stipulation for Dismissal [#18], filed July 21,

  2006. After careful review of the stipulation and the file, the court has concluded that

  the stipulation should be approved and that this action should be dismissed with

  prejudice.

         THEREFORE, IT IS ORDERED as follows:

         1. That the Stipulation for Dismissal [#18], filed July 21, 2006, is APPROVED;

  and

         2. That this action IS DISMISSED WITH PREJUDICE with the parties to pay

  their own attorney fees and costs.

         Dated July 24, 2006, at Denver, Colorado.

                                                   BY THE COURT:

                                                   s/ Robert E. Blackburn
                                                   Robert E. Blackburn
                                                   United States District Judge
